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                     UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA
                        JACKSONVILLE DIVISION


  TORBEN KJAER SOENDERGAARD,

                    Petitioner,

  v.                                              Case No. 3:23-cv-499-TJC-PDB

  SECRETARY OF THE U.S.
  DEPARTMENT OF HOMELAND
  SECURITY, et al.,

               Respondents.


                                     ORDER

          In light of Respondents’ Notice (Doc. 14), the stay is LIFTED.

  Respondents shall respond to the Petition and show cause why the Petition

  should not be granted in compliance with the Court’s Order (Doc. 4) by August

  4, 2023. After Respondents file a response, Petitioner shall have 30 days to file

  his reply to Respondents’ response.

          DONE AND ORDERED at Jacksonville, Florida, this 27th day of July,

  2023.
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  c:
  Counsel of Record




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